            Case 3:18-cv-05788-BHS Document 3 Filed 09/27/18 Page 1 of 1
                                    UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
                                        OFFICE OF THE CLERK
                                             AT TACOMA



WILLIAM M. MCCOOL
CLERK OF COURT
1717 PACIFIC AVE.
ROOM 3100
TACOMA, WA 98402

September 27, 2018

UHLARIK V NATIONAL RAILROAD PASSENGER CORP, ET AL
Case # 3:18−cv−05788−BHS

The court has received your case documents and has identified the deficiencies listed below.
Please note: Any underlined points of reference indicated below will contain a link to the source materials.

           Secondary Signature(s) Improper:
           The secondary attorney(s) KAREN OREHOSKI indicated in your initiating document(s)
           is/are not properly before this court and has/have been removed from the docket. Signatures
           must be in accordance with FRCP 11 and LCR 83.2, and must comply with Section III(L) of
           the Electronic Filing Procedures which states "An electronically filed pleading or other
           document which requires an attorney's signature must have the signer's name(s) printed or
           typed under all signature lines with an original signature or the "/s" in lieu of the signature".
           Please file a Notice of Appearance for attorney(s) KAREN OREHOSKI as soon as practical.



Please call the Attorney Case Opening Helpdesk at 206−370−8787 if you have any additional questions.

Thank you.

cc: file
